                                   1                                     UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                         EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR
                                   4
                                                       Plaintiff,                           PERMANENT INJUNCTION
                                   5
                                                 vs.
                                   6
                                         APPLE INC.,
                                   7
                                                       Defendant.
                                   8
                                         AND RELATED COUNTERCLAIM
                                   9

                                  10          The Court, having considered the evidence presented at the bench trial in this matter and
                                  11   consistent with its findings of fact and conclusions of law, HEREBY ORDERS as follows:
                                  12          1. Apple Inc. and its officers, agents, servants, employees, and any person in active
Northern District of California
 United States District Court




                                  13   concert or participation with them (“Apple”), are hereby permanently restrained and enjoined from
                                  14   prohibiting developers from (i) including in their apps and their metadata buttons, external links,
                                  15   or other calls to action that direct customers to purchasing mechanisms, in addition to In-App
                                  16   Purchasing and (ii) communicating with customers through points of contact obtained voluntarily
                                  17   from customers through account registration within the app.
                                  18          2. Any party may seek modification of this Order, at any time, by written motion and for
                                  19   good cause based on changed circumstances or otherwise.
                                  20          3. The Court will retain jurisdiction over the enforcement and amendment of the
                                  21   injunction. If any part of this Order is violated by any party named herein or any other person,
                                  22   plaintiff may, by motion with notice to the attorneys for defendant, apply for sanctions or other
                                  23   relief that may be appropriate.
                                  24          4. This injunction will take effect in ninety (90) days.
                                  25          IT IS SO ORDERED.

                                  26   Dated: September 10, 2021
                                                                                                YVONNE GONZALEZ ROGERS
                                  27                                                           UNITED STATES DISTRICT JUDGE
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